                                    Case 2:16-cv-00865-GAM Document 1 Filed 02/23/16 Page 1 of 15
 '1S 44 (Rev. 12/07)                                                               CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neitherreplace nor supplement the filing and service ofpleadings or other papers as required by law, except as ~ovided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose ofmitiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF nm FORM.)

 I. (a)       PLAINTIFFS                                                                                               DEFENDANTS
LEONID PYATETSKY, individually and on behalf of all others                                                               2651 HUNTINGDON PIKE, LLC
similarly situated
    (b) County ofResidence of First Listed Plaintiff Philadelphia, PA                                                  County of Residence ofFirst Listed Defendant    Brooklyn,                               NY
                                     (EXCEPT IN U.S. PLAINTIFF CASES)                                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                               NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                      LAND INVOLVED.

       (C)    Attorney's (Finn Name, Address, and Telephone Number)                                                     Attorneys (If Known)

2200 Renaissance Boulevard, Suite 308 King of Prussia, PA 19406
(610 822-3700
  II. BASIS OF JURISDICTION                               (Placean"X"inOneBoxOnly)                         III. CITIZENSHIP OF PRINCIPAL P ARTIES(Place an "X" in One Box for Plaintiff
                                                                                                                     (For Diversity Cases Only)                              and One Box for Defendant)
  LI 1 U.S. Government                     l!l 3 Federal Question                                                                              PTF DEF                                      PTF      DEF
          Plaintiff                                   (U.S. Government Not a Party)                            Citizen of This State          LI I LI I Incorporated or Princip"1 Place      LI 4    LI 4
                                                                                                                                                        of Business In This State

  LI 2 U.S. Government                     LI 4 Diversity                                                       Citizen of Another State         LI 2        LI 2         Incorporated and Principal Place       LI S     LI
          Defendant                                                                                                                                                          of Business In Another State
                                                      (Indicate Citizenship of Parties in Item Ill)
                                                                                                                                                 LI 3        LI           Foreign Nation                         Ll6      Ll6

  IV.NAT URE                  OF SUIT !Place an ''X" in One Box Onlv)
 I ··.-        "llNTll A.   C'T ·                                RTS                          ·.1·.t:.!   ...    ·FORFEITURE/PENALTY ..,                     · BANKRUPTCY ·c. :;                     . OTH>:R ~·•"'\TIJTES      '   I
  LI   110 Insurance                       PERSONAL INJURY                       PERSONAL INJURY                LI 610 Agriculture                   LI 422 Appeal 28 use IS8                 LI    400 State Reapportionment
  LI   120 Marine                       LI 310 Airplane                       LI 362 Personal Injury -          LI 620 Other Food & Drug             LI 423 Withdrawal                        LI    410 Antitrust
  LI   130 Miller Act                   LI 31 S Airplane Product                     Med Malpractice            LI 62S Drug Related Seizure                 28 USC 157                        LI    430 Banks and Banking
  LI   140 Negotiable Instrument                Liability                     LI 36S Personal Injury -                 of Property 21 USC 881                                                 LI    450 Commerce
  LI   ISO Recoveiy of Overpayment      LI 320 Assault, Libel &                      Product Liability          LI 630 Liquor Laws                      .,                   Nn•BTli·         LI    460 Deportation
           & Enforcement of1udgment             Slander                       LI 368 Asbestos Persooal          LI 640 R.R. & Truck                  LI 820 Copyrights                        LI    470 Racketeer Influenced and
  LI   ISi Medicare Act                 LI 330 Federal Employers'                    Injury Product             LI 650 Airline Regs.                 LI 830 Patent                                      Corrupt Organizations
  p    152 Recoveiy of Defaulted                Liability                            Liability                  LI 660 Occupational                  LI 840 Trademark                          LI   480 Consumer Credit
           Student Loans                LI 340Marine                           PERSONAL PROPERTY                       Safety/Health                                                           LI   490 Cable/Sat TV
           (Exel. Veterans)             LI 345 Marine Product                 LI 370 Other Fraud                LI 690 Other                                                                   LI   810 Selective Service
  LI   IS3 Recoveiy of Overpayment              Liability                     LI 371 Truth in Lending    "•'.o1·"i;.!!';'•.,:,.AHllM''        .•..   i'i;..:111•1111.           .. ,:      ,.. LI   850 Securities/Commodities/
           of Veteran's Benefits        LI 3SO Motor Vehicle                  LI 380 Other Personal    LI 710 Fair Labor Standards                   LI 861 HIA (1395£!)                                Exchange
  LI   160 Stockholders' Suits          LI 35S Motor Vehicle                         Property Damage                Act                              LI 862 Black Lung (923)                  LI    875 Customer Challenge
  LI   190 Other Contract                       Product Liability             LI 38S Property Damage   LI 720 Labor/Mgmt Relations                   LI 863 DIWC/DIWW (40S(g))                          12 USC 3410
  LI   19S Contract Product Liability   LI 360 Other Personal                        Product Liability LI 730 Labor/Mgmt.Reporting                   LI 864 SSID Title XVI                    LI    890 Other Statutory Actions
  LI   196 Franchise                            IninTV                                                             & Disclosure Act                  LI 86S RSI (405(2))                      LI    891 Agricultural Acts
 I·        REAL PROPERTY                     CIVIL RIGHTS · .·                 PRISONER PETITIONS ·. LI 740 Railway Labor Act                         .,., FEDERAL-·TAX SUITS ·               LI    892 Economic Stabilization Act
 ·CJ   210 Land Coodemnation            LI 441 Voting                         LI SIO Motions to Vacate LI 790 Other Labor Litigation                 LI 870 Taxes (U.S. Plaintiff             LI    893 Enviroomental Matters
  0    220 Foreclosure                  LI 442 Employment                            Sentence          LI 791 Empl. Rel. Inc.                                  or Defendant)                  LI    894 Energy Allocation Act
  LI   230 Rent Lease & Ejeetment       LI 443 Housing/                          Habeas Corpus:                     Security Act                     LI 871 IRS-Third Party                   LI    89S Freedom of Information
  LI   240 Torts to Land                       Accommodations                 LI S30Genersl                                                                   26 USC 7609                               Act
  LI   245 Tort Product Liability       LI 444 Welfare                        LI S3S Death Penalty     -.:~,,,~!il;iIMMIGRATION ,·•·· . ·~· r·:~'.                                            LI    900Appeal of Fee Determination
  LI   290 All Other Real Property      LI 445 Amer. w/Disabilities -         LI S40 Mandamus & Other LI 462 Naturalization Application                                                                 Under Equal Access
                                               Employment                     LI SSO Civil Rights      LI 463 Habeas Corpus -                                                                           to Justice
                                        IJ; 446 Amer. w/Disabilities -        CJ SSS Prison Condition              Alien Detainee                                                             LI    950 Coostitutionality of
                                               Other                                                   LI 465 Other Immigration                                                                         State Statutes
                                        LI 440 Other Civil Rights                                                  Actions



  V.      ORIGIN                 (Plsce an ''X" in One Box Only)                                                                                                                                               Appeal to District
  ~    1 Original              0 2    Removed from            0       3       Remanded from               0 4   Reinstated or     0      5 Transferr~d J'.rom 0 6                Multidistrict       O 7       Judge from
             Proceeding               State Court                             Appellate Court                   Reopened                   anoth!'f district                     Litigation                    Magistrate
                                                                                                                                            s ec1                                                              Jud ent
                                              C~2tllj .1$~c£i~l1'f5~ u~1~~&i.ch you are filing (Do not cite jurisdictional statutes unless diversity):
  VI. CAUSE OF ACTION 1-B-ri-ef_d_e-sc-rl-pti0-n-of-c-au_s_e_:- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                 0




                                                Violation ot the Americans With Disabilities Act
  VII. REQUESTED IN                            l'ZJ   CHECK IF THIS IS A CLASS ACTION                              DEMANDS                                              CHECK YES only if demanded in complaint:
             COMPLAINT:                               UNDER F.R.C.P. 23                                                                                                 JURY DEMAND:                 llf Yes      0 No
  ·VIII. RELATED CASE(S)
              IF ANY                                  •=-l' ~                                                                                                DOCKET~
                                                                                  s10                F               Hit~.
  FOR OFFICE USE ONLY
                                                                          l          APPLYING IFP                                        JUDGE                                    MAG.JUDGE
                        Case 2:16-cv-00865-GAM Document 1 Filed 02/23/16 Page 2 of 15
                                                             "Q'NITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA-DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

AddressofPlaintiff:     c/o Connolly Wells & Gray, LLP 2200 Renaissance Boulevard, Suite 308 King of Prussia, PA 19406

AddressofDefendant: 335 Broad Street Brooklyn,                                NY 11231

Place of Accident, Incident or Transaction: Nationwide,             including the Eastern District of Pennsylvania
                                                                        (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning l 0% or more of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. l (a))                                  Yes 0       No I[]


Does this case involve multidistrict litigation possibilities?                                                                   YesD        NolXI
RELATED CASE, IF ANY:
CaseNumber: _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ DateTerminated: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                              YesD NoD
2. Does this case involve the same issue offact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               YesD NoD
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
   terminated action in this court?                                                                                              YesD         NoD

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 YesD          NoD

CIVIL: (Place t/ in ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                B. Diversity Jurisdiction Cases:
 1. D Indemnity Contract, Marine Contract, and All Other Contracts                                       1. D Insurance Contract and Other Contracts
 2. D FELA                                                                                               2. D Airplane Personal Injury
 3.   D Jones Act-Personallnjury                                                                         3. D Assault, Defamation
 4.   D Antitrust                                                                                        4. D Marine Personal Injury
 5.   D Patent                                                                                           5. D Motor Vehicle Personal Injury
 6.   D Labor-Management Relations                                                                                        6. D Other Personal Injury (Please
                                                                                                                         specify)
7. D      Civil Rights                                                                                   7. D Products Liability
8. D      Habeas Corpus                                                                                  8. D Products Liability-Asbestos
9. D      Securities Act(s) Cases                                                                        9. D All other Diversity Cases
10. D     Social Security Review Cases                                                                                                     (Please specify)
11. IXI   All other Federal Question Cases
          (Pleasespecify)    42 U.S.C.          § 12101 et seq.
                                                                 ARBITRATION CERTIFICATION
                                                           (Check Appropriate Category)
1,_ _G_e_r_a_1_a_o_._w_e_1_1_s_,_r_r_r_ _ _ ___, counsel of record do hereby certify:
   Ill Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best     y knowledge and beli , the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
  Iii Relief other than monetary damages is sought.

DATE:       2/18/16                                                                                                                       88277
                                                          A mey-at- w                                                               Attorney l.D.#
                                         NO E: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not rel                                                  e year previously terminated action In this court
except as noted above.

 DATE:       2/18/16                                                                                                                      88277
                                                                                                                                      Attorney I.D.#
 CN. 609 (6/08)
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                       CASE MANAGEMENT TRACK DESIGNATION FORM
PYATETSKY
                                                                               CIVIL ACTION

                          v.
2651 HUNTINGDON PIKE, LLC
                                                                               NO.

   In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
   plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
   filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
   side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
   designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
   the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
   to which that defendant believes the case should be assigned.

   SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

   (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

   (b) Social Security- Cases requesting review of a decision of the Secretary of Health
       and Human Services denying plaintiff Social Security Benefits.                                 ( )

   (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53 .2.    ( )

   (d) Asbestos - Cases involving claims for personal injury or property damage from
       exposure to asbestos.                                                                          ( )

   (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
       commonly referred to as complex and that need special or intense management by
       the court. (See reverse side of this form for a detailed explanation of special
       management cases.)                                                                             (x)

   (f) Standard Management- Cases that do not fall into any one of the other tracks.                  ( )



          2/18/16                                                         Plaintiff
   Date                                                                    Attorney for

     (610) 822-3700                  (610) 822-3800                      gwells@cwg-law.com

   Telephone                           FAX Number                          E-Mail Address


   (Clv. 660) 10/02
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LEONID PYATETSKY, individually and on                Case No.
behalf of all others similarly situated,

                                Plaintiff(s)         CLASS ACTION COMPLAINT

                v.
                                                     Jury Trial Demanded
2651 HUNTINGDON PIKE, LLC,

                                Defendant(s)


                                 CLASS ACTION COMPLAINT

       Plaintiff Leonid Pyatetsky (“Plaintiff” or “Pyatetsky”), on behalf of himself and all others

similarly situated and alleges as follows:

                                         INTRODUCTION

       1.       Plaintiff is an “individual with a disability” as that term is understood pursuant to

Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101 et seq., and its

implementing regulations.

       2.       Plaintiff, a sixty-one-year-old male individual, has been deemed disabled due to

severe back problems, obesity, and depression, by the U.S. Social Security Administration since

January 1, 2010. Indeed, Plaintiff has difficulty walking and standing for long periods of time.

       3.       Plaintiff, nonetheless, leads an active life, including as a husband, father, and

grandfather.

       4.       Accordingly, Plaintiff is routinely traveling for family and social functions.

       5.       To facilitate this active lifestyle, Plaintiff maintains a vehicle that is registered as

a handicap vehicle with the Commonwealth of Pennsylvania’s Department of Transportation
             Case 2:16-cv-00865-GAM Document 1 Filed 02/23/16 Page 5 of 15



and, consequently, bears a handicap license plate.

        6.       Plaintiff has patronized Defendant’s facilities in the past and will continue to do

so in the future.

        7.       As set forth below, Defendant has failed to comply with the ADA’s regulations

regarding handicap parking and has, therefore, denied Plaintiff full access to Defendant’s

facilities. As such, Plaintiff alleges that Defendant violated the ADA and its implementing

regulations.

        8.       Unless Defendant corrects the access barriers detailed herein, Plaintiff will be

denied safe and full access to Defendant’s facility.

        9.       The ADA permits private individuals, such as Plaintiff, to bring suit in federal

court so as to compel compliance with the ADA.

        10.      Accordingly, and on behalf of a class of similarly situated individuals, Plaintiff

seeks: (a) a declaration that Defendant’s facilities violate federal law as described; and (b) an

injunction requiring Defendant to remove the identified access barriers so that they are fully

accessible to, and independently usable by, physically-impaired individuals such as Plaintiff and

the class she seeks to represent.

        11.      Plaintiff also requests that once Defendant is fully in compliance with the

requirements of the ADA, the Court retain jurisdiction for a period of time to be determined to

ensure that Defendant has adopted and is following an institutional policy that will, in fact, cause

Defendant to remain in compliance with the law.

                                    JURISDICTION AND VENUE

        12.      This Court has federal question jurisdiction over the ADA claims asserted herein

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.




                                                  2
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        13.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

substantial business in this judicial district.

        14.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is

the judicial district in which a substantial part of the acts and omissions giving rise to the claims

occurred.

                                                  PARTIES

        15.     Plaintiff is and, at all times relevant hereto, was a resident of the Commonwealth

of Pennsylvania. Plaintiff is and, at all times relevant hereto, has been a legally handicapped

individual, and is, therefore, a member of a protected class under the ADA and the regulations

implementing the ADA.

        16.     Defendant 2651 Huntingdon Pike, LLC (“Defendant” or “2651HP”) is a limited

liability company organized under the laws of the Commonwealth of Pennsylvania, which owns

a commercial real estate parcel at 2651 Huntingdon Pike in Huntingdon Valley, PA 19006. This

parcel is a commercial shopping center, known as “The Village Center,” that contains a number

of businesses, including (but not limited to) “Lemon Basil” restaurant, “Be Well Bakery &

Café,” and “Bella Gente” salon, that are open to the public, as visible by the image below:




        17.     Therefore, Defendant is a public accommodation pursuant to 42 U.S.C. §

12181(7)(F).



                                                     3
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         18.   Defendant maintains a registered office address at 335 Broad Street Brooklyn, NY

11231.

                                    TITLE III OF THE ADA

         19.   On July 26, 1990, President George H.W. Bush signed into law the ADA, a

comprehensive civil rights law prohibiting discrimination on the basis of disability.

         20.   The ADA broadly protects the rights of individuals with disabilities with respect

to employment, access to State and local government services, places of public accommodation,

transportation, and other important areas of American life.

         21.   Title III of the ADA prohibits discrimination in the activities of places of public

accommodation and requires places of public accommodation to comply with ADA standards

and to be readily accessible to, and independently usable by, individuals with disabilities. 42

U.S.C. § 12181-89.

         22.   On July 26, 1991, the Department of Justice (“DOJ”) issued rules implementing

Title III of the ADA, which are codified at 28 C.F.R. Part 36. 1

         23.   Appendix A of the 1991 Title III regulations (republished as Appendix D to 28

C.F.R. Part 36) contains the ADA standards for Accessible Design (“1991 Standards”), which

were based upon the Americans with Disabilities Act Accessibility Guidelines (“1991

ADAAG”) published by the Access Board on the same date. 2



1
   The DOJ is the administrative agency charged by Congress with implementing the
requirements of the ADA.
2
  The Access Board was established by section 502 of the Rehabilitation Act of 1973. 29 U.S.C.
§ 792. The passage of the ADA expanded the Access Board’s responsibilities. The ADA
requires the Access Board to “issue minimum guidelines . . . to ensure that buildings, facilities,
rail passenger cars, and vehicles are accessible, in terms of architecture and design,
transportation, and communication, to individuals with disabilities.” 42 U.S.C. § 12204. The
ADA requires the DOJ to issue regulations that include enforceable accessibility standards


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       24.     The ADA requires removal of existing architectural barriers in facilities existing

before January 26, 1992 where such removal is readily achievable. 42 U.S.C. §§ 12181(9),

12182(b)(2)(A)(iv) and 28 C.F.R. § 36.304(a).

       25.     Facilities newly built or altered after January 26, 1993 must be readily accessible

and usable by disabled individuals, including individuals who use wheelchairs. 28 C.F.R. §

36.401 and 28 C.F.R. § 36.402.

       26.     The DOJ revised the 1991 ADAAG when it issued The 2010 Standards for

Accessible Design (“2010 Standards”), which were published on September 15, 2010.

       27.     Notably, many of the requirements with respect to parking remained the same in

the 2010 Standards.

       28.     As set forth below, Defendant has failed to comply with those requirements.

                                    VIOLATIONS AT ISSUE

       29.     Defendant owns, operates, and/or leases a place of public accommodation.

       30.     Defendant’s facilities are not fully accessible to, and independently usable by,

individuals with disabilities.

       31.     On or about January 6, 2016, Plaintiff visited Defendant’s property located at

2651 Huntingdon Pike in Huntingdon Valley, Pennsylvania (the “Huntingdon Pike Location”).

       32.     The Huntingdon Pike Location is within Plaintiff’s regular area of travel. He has

patronized this location in the past and intends to do so again in the future.

       33.     During his recent visit, Plaintiff experienced difficulty and unnecessary risk due

to the existence of architectural barriers that impeded his access to, and ability to use,

Defendant’s facility. Indeed, Plaintiff had difficulty walking from his vehicle to the business he


applicable to facilities subject to Title III that are consistent with the “minimum guidelines”
issued by the Access Board, 42 U.S.C. § 12134(c), 12186(c).


                                                  5
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intended to patronize within the shopping center.

       34.     Specifically, as illustrated in the image below, access aisles required by the ADA

to be adjacent to the purportedly handicapped-accessible parking spaces were either nonexistent

or less than 60 inches wide and, therefore, not compliant with ADA requirements:




       35.     The failure to include the proper access aisle constitutes a violation of Section

502.2 of the 2010 Standards.

       36.     Additionally, at least one purportedly handicapped-accessible parking space had a

running and/or cross slopes in excess of 1:48 (i.e. 2.1%), thereby violating Section 502.4 of the

2010 Standards.

       37.     Furthermore, no parking spaces at the Huntingdon Pike Location were designated

“van accessible” as required by the ADA, in violation of Section 208.2.4 of the 2010 Standards,

which requires “at least one” van accessible designated parking space for every six accessible

parking spaces a facility maintains.



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        38.     Moreover, Section 502.6 of the 2010 Standards requires signs identifying

accessible parking spaces to be “60 inches minimum above the . . . ground surface measured to

the bottom of the sign.”

        39.     However, as evidenced by the image above, at the Huntingdon Pike Location, the

signs designating the space as “handicapped,” were mounted less than 60 inches above the

parking surface, in violation of the ADA.

        40.     Moreover, at least one space that was supposedly designated as “handicapped,”

did     not     have       any     signage,      as        evidenced   by   the   image   below:




        41.     Finally, none of the purportedly “handicapped” parking spaces were properly

marked or striped, in violation of the ADA.

        42.     The Huntingdon Pike Location is within the geographic zone that Plaintiff

typically travels as part of his routine activities.

        43.     Accordingly, Plaintiff will continue to regularly visit and attempt to access

Defendant’s Huntingdon Pike Location in the future as part of his regular activities. However,

so long as that location continues to violate the ADA, Plaintiff will be unable to use them


                                                       7
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independently and will be, thereby, denied full access to Defendant’s facility.

       44.       Plaintiff requests periodic monitoring to confirm that the public accommodations

are brought into compliance and remain in compliance.

       45.       Without injunctive relief, Plaintiff will continue to be unable to independently use

Defendant’s facility.

                                CLASS ACTION ALLEGATIONS

       46.       Plaintiff brings this action pursuant to Rules 23(a) and 23(b)(2) of the Federal

Rules of Civil Procedure on behalf of himself and all individuals with disabilities who have

attempted to access, or will attempt to access Defendant’s facilities (“Class”).

       47.       Numerosity: Upon information and belief, the Class is so numerous that joinder

of all individual members in one action would be impracticable.             The disposition of the

individual claims of the respective Class members through this class action will benefit both the

parties and this Court.

       48.       Typicality: Plaintiff’s claims are typical of the claims of the members of the

Class. The claims of the Plaintiff and members of the Class are based on the same legal theories

and arise from the same unlawful conduct.

       49.       Common Questions of Fact and Law: There is a well-defined community of

interest and common questions of fact and law affecting members of the Class in that they all

have been and/or are being denied their civil rights to full and equal access to, and use and

enjoyment of, Defendant’s facilities and/or services due to Defendant’s failure to make its

facilities fully accessible and independently usable as above described.

       50.       The questions of fact and law common to the class include but are not limited to

the following:




                                                  8
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               a.      Whether Defendant is a “public accommodation” under the ADA;

               b.      Whether Defendant’s conduct in failing to make its facilities fully

                       accessible and independently usable as described above violated the ADA;

                       and

               c.      Whether Plaintiff and members of the class are entitled to declaratory and

                       injunctive relief.

       51.     Adequacy of Representation: Plaintiff is an adequate representative of the class

because his interests do not conflict with the interests of the members of the Class. Plaintiff will

fairly, adequately, and vigorously represent and protect the interests of the members of the class

and have no interests antagonistic to the members of the class. Plaintiff has retained counsel

who are competent and experienced in the prosecution of class action litigation.

       52.     Class certification is appropriate pursuant to Rule 23(b)(2) because Defendant has

acted or refused to act on grounds generally applicable to the Class, making appropriate both

declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

                                        COUNT I
                                  VIOLATION OF THE ADA

       53.     The allegations contained in the previous paragraphs are incorporated by

reference.

       54.     Defendant’s Huntington Pike Location was required to be altered, designed, or

constructed so that it is readily accessible and usable by disabled individuals, including

individuals who use wheelchairs. 42 U.S.C. § 12183(a)(1).

       55.     The architectural barriers described above demonstrate that Defendant’s facility

was not altered, designed, or constructed in a manner that causes them to be readily accessible to

and usable by individuals who use wheelchairs, including Plaintiff and the class she seeks to



                                                 9
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represent.

       56.     The architectural barriers described above demonstrate that Defendant has failed

to remove barriers, as required by 42 U.S.C. § 12182(b)(2)(A)(iv).

       57.     Defendant’s facility is required to comply with the Department of Justice’s 2010

Standards for Accessible Design, or in some cases the 1991 Standards 42 U.S.C. § 12183(a)(1);

28 C.F.R. § 36.406; 28 C.F.R. § 36, app. A.

       58.     Defendant is required to provide individuals who use wheelchairs full and equal

enjoyment of its facility. See 42 U.S.C. § 12182(a).

       59.     Defendant has discriminated against Plaintiff and the Class in that it has failed to

make its Huntington Pike Location fully accessible to, and independently usable by, individuals

who use wheelchairs in violation of the ADA, as described above.

       60.     Defendant’s conduct is ongoing, and, given that Defendant has not complied with

the ADA’s requirements that public accommodations be fully accessible to, and independently

usable by, individuals with disabilities, Plaintiff invokes his statutory right to declaratory and

injunctive relief, as well as costs and attorneys’ fees.

       61.     Without the requested injunctive relief, specifically including the request that the

Court retain jurisdiction of this matter for a period to be determined after the Defendant certifies

that it is fully in compliance with the mandatory requirements of the ADA that are discussed

above, Defendant’s non-compliance with the ADA’s requirements that its facility be accessible

to, and independently usable, by individuals with disabilities is likely to recur.

                                     PRAYER FOR RELIEF

     WHEREFORE, Plaintiff, on behalf of himself and the members of the Class, pray for:

       a.      A Declaratory Judgment that at the commencement of this action Defendant was




                                                  10
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                                     PRAYER FOR RELIEF

     WHEREFORE, Plaintiff, on behalf of himself and the members of the Class, pray for:

      a.      A Declaratory Judgment that at the commencement of this action Defendant was

              in violation of the specific requirements of Title III of the ADA described above;

      b.      A permanent injunction which directs Defendant to take all steps necessary to

              bring its facilities into full compliance with the requirements set forth in the ADA,

              and its implementing regulations, and which further directs that the Court shall

              retain jurisdiction for a period to be determined after Defendant certifies that all

               of its facilities are fully in compliance with the relevant requirements of the ADA

              to ensure that Defendant has adopted and is following an institutional policy that

              will in fact cause Defendant to remain in compliance with the law;

       c.      An Order certifying the Class proposed by Plaintiff, and naming Plaintiff as the

               class representative and appointing his counsel as class counsel;

       d.      Payment of costs of suit;

       e.      Payment of reasonable attorneys' fees; and,

       f.      The provision of whatever other relief the Court deems just, equitable and

               appropriate.

                                         JURY DEMAND

       Plaintiff hereby requests a jury on all issues so triable.

Date: February 18, 2016                                  Respectfully submitted,
                                                         CONNOLLY WELLS & GRAY, LLP




                                                /        Gerald D. Wells,
                                                         Stephen E. Connolly


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